           Case 1:12-cr-00213-JLT-BAM Document 172 Filed 05/02/14 Page 1 of 2



1    CARL M. FALLER SBN: 70788
     FALLER LAW FIRM
2    Post Office Box 912
     Fresno, CA 93714
3    Tel: 559-226-1534
     Fax: 559-412-4746
4    carl.faller@fallerdefense,com
5
     Attorney for Defendant
6    SERGIO JARA
7

8
                            IN THE UNITED STATED DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                       ) Case No.: 1:12-cr-00213 AWI BAM
12                                                   )
                    Plaintiff,                       ) STIPULATION FOR RELEASE AND
13                                                   ) SUBSTITUTION OF COLLATERAL
            vs.                                      )
14                                                   )
     SERJIO JARA,                                    )
15                                                   )
                    Defendant.                       )
16

17
            It is hereby stipulated and agreed by the parties hereto, by and through their respective
18
     attorneys of record, as follows:
19
            On August 30, 2012, this defendant was ordered to post a property bond in the amount of
20
     $100,000, secured by a Deed of Trust, on his personal residence located at 8105 Rockingham
21
     Drive, Bakersfield, California, APN number 514-290-13. On November 29, 2012, a Deed of
22
     Trust, number 0212162878, was posted with the court in compliance with that order.
23
            The defendant is now in the process of selling that residence and purchasing another
24
     residence. The new property is located at 6910 Creamery Lane, Bakersfield, California,
25
     APN number 515-251-59-00.
26
            It is hereby stipulated that Deed of Trust number 0212162878 be reconveyed for purpose
27
     of facilitating the sale of the residence located at 8105 Rockingham Drive, Bakersfield,
28
           Case 1:12-cr-00213-JLT-BAM Document 172 Filed 05/02/14 Page 2 of 2



1    California. It is further stipulated that the defendant post a new Deed of Trust securing the note

2    in the amount of $100,000 on the property located at 6910 Creamery Lane, Bakersfield,

3    California, APN number 515-251-59-00. That Deed of Trust is to be filed with the court no later

4    than May 15, 2014.

5    Dated: April 29, 2014                                Respectfully submitted,

6

7                                                         /s/ Carl M. Faller
                                                          CARL M. FALLER
8
                                                          Attorney for Defendant
9                                                         SERGIO JARA

10                                                        BENJAMIN B. WAGNER
                                                          United States Attorney
11

12
                                                     By   /s/ Kirk R. Sherriff
13                                                        KIRK R. SHERRIFF
                                                          Assistant U.S. Attorneuy
14
     ORDER:
15
            It having been stipulated by the parties, and good cause appearing, it is hereby
16

17   ORDERED that the property bond described above, Deed of Trust number 0212162878, be

18   exonerated and reconveyed, and new Deed of Trust securing a note in the amount of $100,000
19   be posted on the property known as 6910 Creamery Lane, Bakersfield, California, APN number
20
     515-251-59-00. That Deed of Trust is to be posted with the court on or before
21
     May 15, 2014.
22

23   IT IS SO ORDERED.
24
     Dated: April 30, 2014
25                                               SENIOR DISTRICT JUDGE

26

27

28
